                                       Case 3:19-cv-03674-WHA Document 307 Filed 08/04/22 Page 1 of 1




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                                   6                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  10   THERESA SWEET, et al.,
                                  11                  Plaintiffs,                           No. C 19-03674 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   MIGUEL CARDONA, et al.,                              ORDER GRANTING PRELIMINARY
                                                                                            APPROVAL OF CLASS ACTION
                                  14                  Defendants.                           SETTLEMENT
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                                  17        For the reasons stated on the record during the hearing, the Court hereby

                                  18   PRELIMINARILY APPROVES the proposed settlement as fair, reasonable, and adequate to the

                                  19   members of the class. The form of notice is also APPROVED. By FRIDAY, counsel should

                                  20   provide a proposed schedule for final approval for the Court’s review. Class counsel should

                                  21   also proceed with distributing notice immediately.

                                  22        IT IS SO ORDERED.

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                                  24   Dated: August 4, 2022.

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                                                                                             WILLIAM ALSUP
                                  27                                                         UNITED STATES DISTRICT JUDGE
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